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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


SECURITIES AND EXCHANGE COMMISSION, :
                                    :
                       Plaintiff,   :
                                    :
                 v.                 :
                                    :                         Civil Action No. 1:19-CV-08454
TODAY’S GROWTH CONSULTANT, INC.     :
(dba THE INCOME STORE)              :
                                    :
and                                 :
                                    :
KENNETH D. COURTRIGHT, III,         :
                                    :
                       Defendants.  :
                                    :

               JOINT STATUS REPORT PURSUANT TO COURT ORDER
                        DATED JULY 7, 2021 [ECF NO. 148]

       Melanie E. Damian, as Receiver (“Receiver”) for Todays Growth Consultant Inc. (“TGC”)

and Pro Se Defendant, Kenneth D. Courtright, III, pursuant to Court Order dated July 7, 2021

[ECF No. 148], file this joint status report regarding the group of domains/websites bearing

Defendant’s family names (collectively, the “Domains”) and hereby state as follows:

       On July 7, 2021, this Court held a status conference hearing at which the Court ordered the

Receiver and Defendant (jointly, the “Parties”) to file a joint written statement confirming that the

list of Domains has been provided to Defendant, that an attempt at conciliation regarding the

turnover of these Domains to Defendant has been made, and whether the issue has been resolved.

See ECF No. 148.

       On July 7, 2021, counsel for the Receiver sent email correspondence to Defendant and

provided a full list of all Domains in accordance with the Court’s Order. In total, Defendant
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identified twenty-eight (28) domains bearing Defendant’s family names and three (3) additional

domains associated with Kerri Courtright’s run for public office to be all of the Domains that

Defendant is requesting be transferred.

       As discussed during the July 7, 2021 status conference hearing, the Receiver previously

agreed to turnover to Defendant the three (3) domains associated with Kerri Courtright’s run for

public office. The Receiver is working with her retained IT professionals to transfer ownership of

those domains to Defendant.

       As for the remaining twenty-eight (28) Domains, Defendant has proposed that the Receiver

transfer ownership to Defendant in exchange for Defendant’s releasing any and all alleged claims

that he or his family members may have against the Estate related to the sale of his personal items

at the Receivership Estate’s auction sales of TGC’s tangible property held during the summer of

2020. The Receiver is considering Defendant’s proposal and is working with counsel for the

Securities and Exchange Commission (“SEC”) to ensure that the SEC has no objection to said

proposal. The Receiver is also working with her retained IT professionals to determine the

purchase date of the Domains as well as the source of funds used to purchase and renew their

annual registrations to confirm Defendant’s representations at the July 7th hearing that no company

funds were used to purchase the Domains and the amounts that TGC and the Estate paid to renew

and maintain those domains, as this may inform the SEC’s decision regarding whether to object to

any turnover agreement the Receiver may propose.

       As a final matter, there are several Domains that are currently hosting live websites related

to Defendant’s personal businesses, speaking engagements, and book sales, among other things.

The Receiver and the SEC have expressed concerns that the information on these websites could

be considered evidence in the SEC Enforcement Action and therefore needs to be preserved prior



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to transferring ownership and control to Defendant if the Receiver ultimately agrees to do so.

Further, the websites contain information related to TGC’s business operations and indirect

solicitations for investments in same that are germane to the allegations contained in the SEC’s

Complaint. It is the Receiver’s position that this information should not be allowed to remain

available to the public in light of the SEC Enforcement Action and the allegations contained in the

SEC’s Complaint, and therefore these Domains should not be transferred to the Defendant until

these issues are resolved.

       The Parties will file a subsequent joint status report within two weeks or such time period

as the Court may prescribe, apprising the Court of the status of their efforts to resolve the issues

addressed herein.


       Respectfully submitted,


 /s/ Kennth Dante Murena                                     Date: July 15, 2021
Kenneth Dante Murena
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Attorneys for the Receiver of Defendant Todays Growth Consultant Inc.


/s/ Kenneth D. Courtright, III                               Date: July 15, 2021
Kenneth D. Courtright, III
Email: ken3courtright@gmail.com

Pro Se Defendant




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was served via

electronic transmission via this Court’s CM/ECF filing system on July 15, 2021 on all counsel or

parties who have appeared in the above-styled action.

                                                   /s/Kenneth Dante Murena
                                                   Kenneth Dante Murena,
                                                   Counsel for Melanie E. Damian,
                                                   Court-Appointed Receiver




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